

Matter of Mowla (2022 NY Slip Op 06679)





Matter of Mowla


2022 NY Slip Op 06679


Decided on November 23, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 23, 2022

PM-199-22
[*1]In the Matter of Michael Mowla, an Attorney. (Attorney Registration No. 4197505.)

Calendar Date:November 14, 2022

Before:Lynch, J.P., Aarons, Pritzker, Ceresia and McShan, JJ.

Michael Mowla, Cedar Hill, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Michael Mowla was admitted to practice by this Court in 2004 and lists a business address in Cedar Hill, Texas with the Office of Court Administration. Mowla now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Mowla's application.
Upon reading Mowla's affidavit sworn to July 8, 2022 and filed August 1, 2022, and upon reading the November 14, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Mowla is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Aarons, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Michael Mowla's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Michael Mowla's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Michael Mowla is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mowla is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Michael Mowla shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








